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UNITED STATES OF AMERICA,

       V.                                         CR 218-050


JAMAL GAINES,


       Defendant.


                                      ORDER


       Before the Court is Defendant Jamal Gaines' Motion to Transfer


Jurisdiction of Violation of Federal Supervised Release.                 Dkt. No.

534.


       On October 24, 2006, Defendant appeared in the United States

District Court for the Middle District of Florida and was sentenced


to   188    months'   imprisonment,    followed    by   4   years'   supervised

release, for committing the offense of possession with intent to

distribute five grams or more of cocaine base, in violation of 21

U.S.C. §§ 841(a)(1)       and   841(b)(1)(B).      Defendant commenced        his

term of supervised release on August 17, 2015 in Jacksonville,

Florida.      Defendant's   arrest    in   the   instant    case   violates   his


supervised     release, and     Defendant is     facing     revocation    of his

supervised release in the Middle District of Florida, which has

placed a hold on Defendant.
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     Defendant now moves this Court to transfer the jurisdiction

of his supervised release violation from the Middle District of

Florida to the Southern District of Georgia so that he can be

sentenced in   both the instant case and the supervised release

violation at the same time.


     While transferring jurisdiction of        Defendant's supervised

release violation to the Southern District of Georgia would be in

the interest of judicial economy in the short-term, i.e. for

sentencing purposes, it would not be so long-term, i.e. during any

future supervised release period.      Defendant was born and raised

in Jacksonville, Florida and continues to have strong ties to that

area.   With the exception of the instant case. Defendant has no

ties to the Southern District of Georgia.           In anticipation of

Defendant's ultimate    return to the Middle     District of Florida,

Defendant's motion is DENIED.


     SO ORDERED this 28th day of May, 2019.




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                                 HONiXLlSA GODBE^ WOOD, JUDGE
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN   DISTRICT OF GEORGIA
